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 8                                    UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA
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11    SEQUOYAH DESERTHAWK                              Case No.: 1:22-cv-00709-JLT-CDB (PC)
      KIDWELL,
12                                                      ORDER REFERRING CASE TO POST-
                         Plaintiff,                     SCREENING ADR AND STAYING CASE
13                                                      FOR 90 DAYS
             v.
14                                                      FORTY-FIVE (45) DAY DEADLINE
      JASON COLLINS, et al.,
15
                         Defendants.
16

17

18          Plaintiff Sequoyah Deserthawk Kidwell, also known as Jason Scott Harper, is proceeding

19   pro se in this civil rights action pursuant to 42 U.S.C. § 1983.

20          On December 26, 2023, Defendant H. Aguwa filed an answer to Plaintiff’s first amended

21   complaint. (Doc. 31.)

22          The Court refers all civil rights cases filed by pro se inmates to Alternative Dispute

23   Resolution (“ADR”) to attempt to resolve such cases more expeditiously and less expensively.

24          The Court stays this action for ninety days to allow the parties to investigate Plaintiff’s

25   claims, meet and confer, and participate in an early settlement conference. The Court presumes

26   that all post-screening civil rights cases assigned to the undersigned will proceed to a settlement

27   conference. However, if, after investigating Plaintiff’s claims and meeting and conferring, either

28   party finds that a settlement conference would be a waste of resources, the party may opt out of
     Case 1:22-cv-00709-JLT-CDB Document 32 Filed 01/02/24 Page 2 of 3


 1   the early settlement conference.

 2          Accordingly, it is hereby ORDERED:

 3          1. This action is STAYED for ninety (90) days to allow the parties an opportunity to

 4               settle their dispute before the discovery process begins. No pleadings or motions may

 5               be filed in this case during the stay. The parties shall not engage in formal discovery,

 6               but they may engage in informal discovery to prepare for the settlement conference.

 7          2. Within 45 days from the date of this Order, the parties SHALL file the attached

 8               notice, indicating their agreement to proceed to an early settlement conference or their

 9               belief that settlement is not achievable at this time.
10          3. Within 60 days from the date of this Order, the assigned Deputy Attorney General

11               SHALL contact the undersigned’s Courtroom Deputy Clerk at shall@caed.uscourts.gov

12               to schedule the settlement conference, assuming the parties agree to participate in an

13               early settlement conference.

14          4. If the parties reach a settlement during the stay of this action, they SHALL file a

15               Notice of Settlement as required by Local Rule 160.

16          5. The Clerk of the Court SHALL serve via email copies of Plaintiff’s first amended

17               complaint (Doc. 22), the Second Screening Order (Doc. 26), the Order Adopting

18               Findings and Recommendations to Dismiss Certain Claims and Defendants (Doc. 29),

19               and this Order to Supervising Deputy Attorney General Lawrence Bragg
20               (Lawrence.Bragg@doj.ca.gov), and a copy of this Order to ADR Coordinator Sujean

21               Park.

22          6. The parties are obligated to keep the Court informed of their current addresses during

23               the stay and the pendency of this action. Changes of address must be reported

24               promptly in a Notice of Change of Address. See L.R. 182(f).

25

26   IT IS SO ORDERED.

27      Dated:     January 2, 2024                              ___________________                  _
                                                         UNITED STATES MAGISTRATE JUDGE
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     Case 1:22-cv-00709-JLT-CDB Document 32 Filed 01/02/24 Page 3 of 3


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 8                                     UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA
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11    SEQUOYAH DESERTHAWK KIDWELL,                        Case No. 1:22-cv-00709-JLT-CDB (PC)

12                        Plaintiff,
                                                          NOTICE REGARDING EARLY
13             v.                                         SETTLEMENT CONFERENCE
14    JASON COLLINS, et al.,

15                        Defendants.

16

17      1. The party or counsel agrees that an early settlement conference would be productive and
18            wishes to engage in an early settlement conference.
19                   Yes ____               No ____
20

21      2. Plaintiff (check one):
22                   _____ would like to participate in the settlement conference in person.
23                   _____ would like to participate in the settlement conference by telephone or video
24                         conference.
25

26   Dated:
27                                                        ________________________________
                                                          Plaintiff or Counsel for Defendant
28
